                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                SOUTHERN DIVISION

CAROLINE M. FONVIELLE,           )
                                 )
                                 )
                     Plaintiff,  )
                                 )                 JUDGMENT IN A CIVIL CASE
v.                               )                 CASE NO. 7:23-CV-1300-D
                                 )
                                 )
                                 )
SPECIALIZED LOAN SERVICING, LLC, )
                                 )
                                 )
                     Defendant.  )


Decision by Court.


IT IS ORDERED, ADJUDGED, AND DECREED that the court DENIES AS MOOT
defendant's motion to dismiss [D.E. 6], GRANTS defendant's motion to dismiss [D.E.
16], and DISMISSES WITHOUT PREJUDICE plaintiff's amended complaint [D.E. 12].



This Judgment Filed and Entered on March 13, 2024, and Copies To:
Caroline M. Fonvielle       (via US Mail to 3261 Camden Circle, Wilmington, NC 28403)
Hannah D. Kays              (via CM/ECF electronic notification)




DATE: March 13, 2024                       PETER A. MOORE, JR., CLERK


                                           (By)   /s/ Stephanie Mann
                                           Deputy Clerk




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